               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CIVIL ACTION NO.: 1:21-cv-111-MOC-WCM


 EVANSTON INSURANCE COMPANY, )
                                        )
                   Plaintiff,           )
 v.                                     )         JOINT STIPULATION OF
                                        )              DISMISSAL
 VAPOR WORLD, LLC,                      )
 and DAVID M. STEPHENS,                 )
                                        )
                   Defendants.          )
 ______________________________________


      NOW COME Plaintiff Evanston Insurance Company and Defendant David M.

Stephens, through counsel, pursuant to F. R. Civ. P. 41(a)(1), and hereby stipulate

that all claims pending in this action are voluntarily dismissed with prejudice.

Defendant Vapor World, LLC, has not made an appearance in this action, however

counsel for Vapor World represents to the Court that Vapor World, LLC consents to

this dismissal. The parties agree that each will bear their own costs and fees for this

action.

      This the 23rd day of August, 2021.

                                        CRANFILL SUMNER LLP

                                        /s/ Jennifer A. Welch
                                        N.C. State Bar No. 31360
                                        PO Box 27808
                                        Raleigh, NC 27611-7808
                                        Telephone: (919) 828-5100
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                                        Counsel for Plaintiff




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                                    FISHER STARK, P.A.

                                    /s/ W. Perry Fisher, II
                                    W. Perry Fisher, II
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                                    Counsel for Defendant Stephens




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              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CIVIL ACTION FILE NO.: 1:21-cv-111-MOC-WCM

EVANSTON INSURANCE COMPANY, )
                                       )
                  Plaintiff,           )
v.                                     )
                                       )      CERTIFICATE OF SERVICE
VAPOR WORLD, LLC,                      )
and DAVID M. STEPHENS,                 )
                                       )
                  Defendants.          )
______________________________________

      I hereby certify that on August 23, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system pursuant to its

Administrative CM/ECF Rules, which shall be electronically served upon all counsel

of record through the CM/ECF system, namely:

                   W. Perry Fisher, II       perry@fisherstark.com

      And that I served via email only to:

                   Mel J. Garofalo     mgarofalo@hedrickgardner.com


                                       CRANFILL SUMNER LLP

                                       /s/ Jennifer A. Welch
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